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     Jessica Adair (Bar No. 348364)
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 4   Telephone: (415) 273-3504
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 5
     Attorneys for Plaintiffs,
 6
     TIMOTHY S. BOSTWICK
 7   MICHELE L. NESSIER

 8                               UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10    TIMOTHY S. BOSTWICK, an individual; and               Case No.: 3:21-cv-02560-LB
      MICHELE L. NESSIER, an individual;
11                                                          PLAINTIFFS’ NOTICE OF NON-
      Plaintiffs,                                           OPPOSITION TO DEFENDANT SN’s
12
                                                            MOTION IN LIMINE NO. 1: TO
13    vs.                                                   LIMIT SCOPE OF TESTIMONY AND
                                                            EVIDENCE ESTABLISHING
14                                                          EMOTIONAL DISTRESS DAMAGES
      SETERUS, INC., a business entity; US BANK,            (ECF No. 152)
15    N.A., a business entity; SN SERVICING CORP,
      a business entity; and DOES 1 through 10,             Date: November 9, 2023
16
      inclusive,                                            Time: 1:00 p.m.
17                                                          Dept.: B
      Defendants.
18                                                          Trial Date: December 18, 2023
19

20            TO THE COURT, DEFENDANTS, AND THEIR COUNSEL OF RECORD:
21            Please take notice that Plaintiffs, TIMOTHY BOSTWICK and MICHELE NESSIER
22   (“hereinafter Plaintiffs”) will not move to oppose Defendant SN’s Motion in Limine No. 1: “To
23   Limit the Scope of Testimony and Evidence Establishing Emotional Distress Damages (ECF No.
24   152.)”
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                                                       1
                         PLAINTIFFS’ NOTICE OF NON-OPPOSITION TO SN’S MOTION IN LIMINE NO. 1
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 2
     DATED: September 28, 2023                  Respectfully submitted,
 3
                                                SHAPERO LAW FIRM
 4

 5                                              __/s/ Sarah Shapero____________________
 6                                              Sarah Shapero
                                                Jessica Adair
 7                                              Attorneys for Plaintiffs
                                                TIMOTHY BOSTWICK
 8                                              MICHELE L. NESSIER
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                      PLAINTIFFS’ NOTICE OF NON-OPPOSITION TO SN’S MOTION IN LIMINE NO. 1
